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Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF FLORIDA

Case number (if known)                                                     Chapter      11

                                                                                                                            Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-lndividuals Filing for Bankruptcy                                                                                         06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-lndividuals, is available.


1.   Debtor's name                Red Lobster Management LLC


2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Red Lobster
     names, trade names and
     doing business as names


3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  450 S. Orange Avenue
                                  Suite 800
                                  Orlando, FL 32801
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Orange                                                        Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.redlobster.com



6.   Type of debtor               g Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                      Partnership (excluding LLP)

                                      Other. Specify:




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Debtor    Red Lobster Management LLC                                                                   Case number (if known)
          Name



7.   Describe debtor's business       A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101 (27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101 (51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101 (53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                      I None of the above


                                      B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.qov/four-diqit-national-association-naics-codes.
                                                7225


8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small          Chapter 9
     business debtor” must check     ■ Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                              The debtor is a small business debtor as defined in 11 U.S.C. § 101 (51D), and its aggregate
     elects to proceed under                               noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                            $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                       operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                         exist, follow the procedure in 11 U.S.C. § 1116(1 )(B).
     check the second sub-box.
                                                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                           debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                           proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                           balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                           any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                A plan is toeing filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                Mtachment to Voluntary Petition for Non-lndividuals Filing for Bankruptcy under Chapter 11
                                                                (Official Form 201 A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy            g
     cases filed by or against
     the debtor within the last 8     LJ Yes.

     If more than 2 cases, attach a
     separate list.                             District                                  When                                  Case number
                                                District                                  When                                  Case number




Official Form 201                            Voluntary Petition for Non-lndividuals Filing for Bankruptcy                                                page?
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Debtor     Red Lobster Management LLC                                                                      Case number (if known)
           Name

10. Are any bankruptcy cases                  No
    pending or being filed by a
    business partner or an
    affiliate of the debtor?




      List all cases. If more than 1,
      attach a separate list                          Debtor     See attached Exhibit A                                         Relationship


                                                      District                                 When                             Case number, if known



11. Why is the case filed in            Check all that apply:
    this district?
                                        ■      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                               preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                               A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12.   Does the debtor own or            ■ No
      have possession of any
      real property or personal             Yes     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property that needs
      immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                        It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard?

                                                        it needs to be physically secured or protected from the weather.

                                                        It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                       livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                        Other
                                                    Where is the property?
                                                                                      Number, Street, City, State & ZIP Code
                                                     Is the property insured?
                                                        No
                                                        yes.     Insurance agency
                                                                 Contact name
                                                                 Phone



           Statistical and administrative information

13.   Debtor's estimation of                      Check one:
      available funds
                                                  ■ Funds will be available for distribution to unsecured creditors.

                                                     After any administrative expenses are paid, no funds will be available to unsecured creditors.


14.   Estimated number of                   1-49                                             1,000-5,000                                25,001-50,000
      creditors                             50-99                                            5001-10,000                                50,001-100,000
                                            100-199                                          10,001-25,000                           ■ More thanl00,000
                                            200-999


15.   Estimated Assets                      $0 - $50,000                                     $1,000,001 -$10 million                    $500,000,001 -$1 billion
                                            $50,001 -$100,000                                $10,000,001 - $50 million               ■ $1,000,000,001 -$10 billion
                                            $100,001 -$500,000                               $50,000,001 -$100 million                  $10,000,000,001 - $50 billion
                                            $500,001 -$1 million                             $100,000,001 - $500 million                More than $50 billion



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Debtor     Red Lobster Management LLC                                                    Case number (if known)
           Name


16.   Estimated liabilities     □ $0 - $50,000                            □ $1,000,001 -$10 million               □ $500,000,001 -$1 billion
                                □ $50,001 -$100,000                       □ $10,000,001 - $50 million             ■ $1,000,000,001 -$10 billion
                                □ $100,001 -$500,000                      □ $50,000,001 -$100 million             □ $10,000,000,001 - $50 billion
                                □ $500,001 -$1 million                    □ $100,000,001 - $500 million           □ More than $50 billion




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Debtor    Red Lobster Management LLC                                                               Case number (j/ftnown)
          Name



          Request for Relief, Declaration, and Signatures

WARNING - Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
          imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,1341,1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11. United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.




                                                                                                         Jonathan Tibus
                                 sfqnaturAof authorized representative of debtor                         Printed name

                                         CUief Executive Officer




18. signature of attorney           /s/Paul Steven Singerman                                              Date    5/19/2024
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                  Paul Steven Singerman 378860
                                  Printed name

                                  Berger Singerman LLP
                                  Firm name

                                  1450 Brickell Avenue
                                  Suite 1900
                                  Miami, FL 33131
                                  Number. Street, City, State & ZIP Code


                                  Contact phone     305-755-9500                  Email address     singerman@bergersingerman.com


                                  378860 FL
                                  Bar number and State




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                                              Exhibit A to Voluntary Petitions

       Debtor Name 1                           TIN              Date Filed         Case           District
                                                                                   Number
1.     Red Lobster Management LLC             XX-XXXXXXX        May 19, 2024       Pending        U.S. Bankruptcy Court,
                                                                                                  Middle District of Florida
                                                                                                  (Orlando Division)
2.     Red Lobster Restaurants LLC            XX-XXXXXXX        May 19, 2024       Pending        U.S. Bankruptcy Court,
                                                                                                  Middle District of Florida
                                                                                                  (Orlando Division)
3.     RLSV, Inc.                             XX-XXXXXXX        May 19, 2024       Pending        U.S. Bankruptcy Court,
                                                                                                  Middle District of Florida
                                                                                                  (Orlando Division)
4.     Red Lobster Canada, Inc.               XX-XXXXXXX        May 19, 2024       Pending        U.S. Bankruptcy Court,
                                                                                                  Middle District of Florida
                                                                                                  (Orlando Division)
5.     Red Lobster Hospitality LLC            XX-XXXXXXX        May 19, 2024       Pending        U.S. Bankruptcy Court,
                                                                                                  Middle District of Florida
                                                                                                  (Orlando Division)
6.     RL Kansas LLC                          XX-XXXXXXX        May 19, 2024       Pending        U.S. Bankruptcy Court,
                                                                                                  Middle District of Florida
                                                                                                  (Orlando Division)
7.     Red Lobster Sourcing LLC               XX-XXXXXXX        May 19, 2024       Pending        U.S. Bankruptcy Court,
                                                                                                  Middle District of Florida
                                                                                                  (Orlando Division)
8.     Red Lobster Supply LLC                 XX-XXXXXXX        May 19, 2024       Pending        U.S. Bankruptcy Court,
                                                                                                  Middle District of Florida
                                                                                                  (Orlando Division)
9.     RL Columbia LLC                        XX-XXXXXXX        May 19, 2024       Pending        U.S. Bankruptcy Court,
                                                                                                  Middle District of Florida
                                                                                                  (Orlando Division)
10.    RL of Frederick, Inc.                   XX-XXXXXXX       May 19, 2024       Pending        U.S. Bankruptcy Court,
                                                                                                  Middle District of Florida
                                                                                                  (Orlando Division)
11.    Red Lobster of Texas, Inc.              XX-XXXXXXX       May 19, 2024       Pending        U.S. Bankruptcy Court,
                                                                                                  Middle District of Florida
                                                                                                  (Orlando Division)
12.    RL Maryland, Inc.                       XX-XXXXXXX       May 19, 2024       Pending        U.S. Bankruptcy Court,
                                                                                                  Middle District of Florida
                                                                                                  (Orlando Division)
13.    Red Lobster of Bel Air, Inc.            XX-XXXXXXX       May 19, 2024       Pending        U.S. Bankruptcy Court,
                                                                                                  Middle District of Florida
                                                                                                  (Orlando Division)
14.    RL Salisbury, LLC                      XX-XXXXXXX        May 19, 2024       Pending        U.S. Bankruptcy Court,
                                                                                                  Middle District of Florida
                                                                                                  (Orlando Division)
15.    Red Lobster International              XX-XXXXXXX        May 19, 2024       Pending        U.S. Bankruptcy Court,
       Holdings LLC                                                                               Middle District of Florida
                                                                                                  (Orlando Division)



      1 For a detailed description of the relationship amongst the Debtors listed herein, please refer to the Declaration of
      Jonathan Tibus in Support of Chapter 11 Petitions and First Day Relief filed on the Petition Date.
      12970032-1
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       OMNIBUS ACTION BY WRITTEN CONSENT
                         OF
             THE BOARDS OF MANAGERS
                         OF
          RED LOBSTER MANAGEMENT LLC
          RED LOBSTER RESTAURANTS LLC
           RED LOBSTER HOSPITALITY LLC
            RED LOBSTER SOURCING LLC
              RED LOBSTER SUPPLY LLC
                   RL KANSAS LLC
                 RL COLUMBIA LLC
                 RL SALISBURY, LLC
     RED LOBSTER INTERNATIONAL HOLDINGS LLC
                        AND
             THE BOARDS OF DIRECTORS
                         OF
                     RLSV, INC.
             RED LOBSTER CANADA, INC.
            RED LOBSTER OF BELAIR, INC.
                 RL MARYLAND, INC.
               RL OF FREDERICK, INC.
            RED LOBSTER OF TEXAS, INC.
                        AND
     THE SOLE MEMBER AND SOLE STOCKHOLDER
                        OF
          RED LOBSTER RESTAURANTS LLC
           RED LOBSTER HOSPITALITY LLC
            RED LOBSTER SOURCING LLC
              RED LOBSTER SUPPLY LLC
                   RL KANSAS LLC
     RED LOBSTER INTERNATIONAL HOLDINGS LLC
                     RLSV, INC.
             RED LOBSTER CANADA, INC.
               RL OF FREDERICK, INC.
            RED LOBSTER OF TEXAS, INC.
                          AND
               SOLE MANAGING MEMBER
                           OF
                   RL COLUMBIA LLC
                  RL SALISBURY, LLC
                          AND
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                               SOLE VOTING STOCKHOLDER
                                                 OF
                              RED LOBSTER OF BELAIR, INC.
                                   RL MARYLAND, INC.


                                           May 19, 2024

                The undersigned, being the sole member, sole stockholder, sole managing member
or sole voting stockholder, as applicable, of each of the boards of managers and the boards of
directors (together, the “Boards”), as applicable, of each of Red Lobster Management LLC, a
Delaware limited liability company (“Management”), Red Lobster Restaurants LLC, a Delaware
limited liability company (“Restaurants”), Red Lobster Hospitality LLC, a Delaware limited
liability company (“Hospitality”), Red Lobster Sourcing LLC, a Delaware limited liability
company (“Sourcing”), Red Lobster Supply LLC, a Delaware limited liability company
(“Supply”), RL Kansas LLC, a Kansas limited liability company (“Kansas”), RL Columbia LLC,
a Maryland limited liability company (“Columbia”), RL Salisbury, LLC, a Maryland limited
liability company (“Salisbury”), RLSV, Inc., a Florida corporation (“RLSV”), Red Lobster
Canada, Inc., a Delaware corporation (“Canada”), Red Lobster of Bel Air, Inc., a Maryland
corporation (“Bel Air”), RL Maryland, Inc., a Maryland corporation (“Maryland”), RL of
Frederick, Inc., a Maryland corporation (“Frederick”), Red Lobster of Texas, Inc., a Texas
corporation (“Texas”), and Red Lobster International Holdings, LLC, a Delaware limited liability
company (“International”, and, collectively with Management, Restaurants, Hospitality, Sourcing,
Supply, Kansas, Columbia, Salisbury, RLSV, Canada, Bel Air, Maryland, Frederick and Texas, the
“Companies” and each, a “Company”), hereby adopts the following resolutions as an action of the
Boards of each Company, and directs that this omnibus action by written consent be filed with the
minutes and proceedings of the Boards and, as applicable, the sole member, sole stockholder, sole
managing member or sole voting stockholder of the Companies:

             WHEREAS, the Boards have reviewed and considered the operational condition of
the Companies and the business of the Companies on the date hereof, including the historical
performance of the Companies, the assets of the Companies, the current and long-term liabilities
of the Companies, the liquidity of the Companies, the strategic alternatives available to the
Companies, and the impact of the foregoing on the business, creditors and other parties in interest
of the Companies;

              WHEREAS, the Boards have received, reviewed and considered recommendations
of the Companies’ legal and financial advisors as to the relative risks and benefits of seeking relief
under chapter 11 of title 11 of the United States Code (11 U.S.C. §§ 101 et seq., the “Bankruptcy
Code”), and the Boards have had an opportunity to consult with the legal and financial advisors of
the Companies and has considered each of the strategic alternatives available to the Companies;

                 WHEREAS, in the business judgment of the Boards, it is in the best interests of the
Companies, their equityholders, their creditors, and other parties in interest for and the Boards
desire that (i) each of the Companies file a voluntary petition seeking relief pursuant to chapter 11
of the Bankruptcy Code (the cases commenced by such voluntary petitions being the “Chapter 11
Cases”) in a court of proper jurisdiction (the “Bankruptcy Court”) and (ii) Red Lobster
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Management LLC, in its capacity as a foreign representative of the Companies, file an application
for recognition of the Chapter 11 Cases under Part IV of the Companies ’ Creditors Arrangement
Act (Canada) (“CCAA”), in each case to address such Company’s financial issues;

              WHEREAS, the Boards have reviewed and considered that certain Secured
Superpriority Debtor-In-Possession Financing Agreement (the “Postpetition Credit Agreement”)
by and among the Companies and Fortress Credit Corp., a Delaware corporation, as administrative
agent (“Agent”), and the lenders party thereto (the “Lenders”), pursuant to which the Lenders shall
provide post-petition secured financing to the Companies;

              WHEREAS, after considering the recommendations of each of the Companies’
advisors supporting the entry into the Postpetition Credit Agreement under the facts and
circumstances facing such Company, the Boards have deemed it advisable and in the best interests
of the Companies and their stakeholders to adopt and approve the Postpetition Credit Agreement
and to consummate the transactions contemplated thereby;

                WHEREAS, the Boards have reviewed and considered that certain Asset Purchase
Agreement proposed to be entered into by and among a newly formed purchaser entity affiliated
with the Lenders, Management and certain of Management’s direct and indirect subsidiaries that
are signatories thereto (the “Stalking Horse APA”), pursuant to which such purchaser has agreed,
on the terms and subject to the conditions set forth therein, to purchase (via a credit bid)
substantially all of the assets of the Companies (as further detailed in the Stalking Horse APA),
subject to the Companies’ right to terminate such agreement to accept a higher and better offer in
connection with the auction contemplated as part of the Chapter 11 Cases; and

               WHEREAS, after considering the recommendations of each of the Companies’
advisors supporting the entry into the Stalking Horse APAunder the facts and circumstances facing
such Company, the Boards have deemed it advisable and in the best interests of the Companies
and their stakeholders to adopt and approve the Stalking Horse APA and to consummate the
transactions contemplated thereby.

              NOW, THEREFORE, BE IT RESOLVED, that any officer of each Company (each
such Persons, an “Authorized Officer” and together, the “Authorized Officers”), acting alone or
with one or more other Authorized Officers, is hereby authorized and empowered on behalf of,
and in the name of, the Companies to execute and verify or certify (i) a petition under chapter 11
of the Bankruptcy Code and to cause the same to be filed in the Bankruptcy Court at such time as
any such Authorized Officer executing the same shall determine and in such form or forms as any
such Authorized Officer may approve, and (ii) an application for recognition of the Chapter 11
Cases under Part IV of the CCAA, and to cause the same to be filed at such time as any such
Authorized Officer executing the same shall determine and in such form or forms as any such
Authorized Officer may approve, in each case in such Authorized Officer’s sole discretion after
consultation with the Companies’ counsel;

                FURTHER RESOLVED, that the law firm of King & Spalding LLP with its
principal office currently located at 1180 Peachtree Street, N.E., Atlanta, Georgia 30309, be, and
hereby is, employed as counsel for the Companies in connection with the prosecution of the
Companies’ cases under chapter 11 of the Bankruptcy Code;
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                FURTHER RESOLVED, that the law firm of Berger Singerman LLP with its
principal office currently located at 1450 Brickell Avenue, Suite 1900, Miami, Florida 33131, be,
and hereby is, employed as Florida co-counsel for the Companies in connection with the
prosecution of the Companies’ cases under chapter 11 of the Bankruptcy Code;

                 FURTHER RESOLVED, that the law firm of Blake, Cassels & Gray don LLP with
its office currently located at 119 Bay Street, Suite 4000, Commerce Court West, Toronto, Ontario,
M5L 1A9, Canada, be, and hereby is, employed as local Canadian counsel for the Companies in
connection with the prosecution of Red Lobster Management LLC’s foreign recognition
proceeding under Part IV of the CCAA;

               FURTHER RESOLVED, that the advisory firm of Alvarez & Marsal North
America, LLC with its office currently located at Monarch Tower, 3424 Peachtree Road NE, Suite
1500, Atlanta, GA 30326, be, and hereby is, employed to provide a chief executive officer, a chief
restructuring officer and other restructuring personnel for the Companies in connection with the
prosecution of the Companies’ cases under chapter 11 of the Bankruptcy Code;

               FURTHER RESOLVED, that the investment bank of Hilco Corporate Finance,
LLC with its principal office currently located at 401 N. Michigan Avenue, Suite 1630, Chicago,
Illinois 60611, be, and hereby is, employed as lead investment banker for the Companies in
connection with the prosecution of the Companies’ cases under chapter 11 of the Bankruptcy Code;

                FURTHER RESOLVED, that Epiq Corporate Restructuring, LLC (“Epiq”), with
its principal office currently located at 777 Third Avenue, 12th Floor, New York New York 10017,
be, and hereby is, employed as claims and noticing agent for the Companies in connection with
the prosecution of the Companies’ cases under chapter 11 of the Bankruptcy Code;

                FURTHER RESOLVED, that Keen-Summit Capital Partners LLC (“Keen”), with
its principal office currently located at 1 Huntington Quadrangle, Suite 2004, Melville, New York
11747, be, and hereby is, employed as real estate advisor for the Companies in connection with
the prosecution of the Companies’ cases under chapter 11 of the Bankruptcy Code;

                 FURTHER RESOLVED, that each of the Authorized Officers be, and each of them
hereby is, authorized to prepare (or cause to be prepared), execute and file (or cause to be filed)
any and all petitions, schedules, motions, lists, applications, pleadings, and other papers, to take
any and all such other and further actions which any Authorized Officer or the Companies’ legal
counsel may deem necessary, desirable or appropriate in connection with (i) filing the voluntary
petition for relief under chapter 11 of the Bankruptcy Code, including, but not limited to, motions
to obtain the use of cash collateral and to incur debtor-in-possession financing, and, upon
authorization by the Boards as appropriate, to take and perform any and all further acts and deeds
which they deem necessary, proper or desirable in connection with the chapter 11 case, with a view
to the successful prosecution of such case, and (ii) filing of the application for recognition under
Part IV of the CCAA, including, and, upon authorization by the Boards as appropriate, to take and
perform any and all further acts and deeds which they deem necessary, proper or desirable in
connection with the filing under Part IV of the CCAA, with a view to the successful prosecution
of such case;

               FURTHER RESOLVED, that each of the Authorized Officers be, and each of them
hereby is, authorized to cause the Companies, and the Companies are hereby authorized, to incur
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postpetition secured indebtedness in an amount determined to be necessary or advisable by any of
such Authorized Officers to guaranty the obligations of the Companies in respect of such
indebtedness, and to grant security interests and priming liens in favor of the Agent and the Lenders
in any and all assets and properties of the Companies pursuant to one or more security agreements
to secure such indebtedness, and each such Authorized Officer is hereby authorized to negotiate,
execute and deliver the Postpetition Credit Agreement, such guaranties and security agreements,
and the Companies are authorized to perform all of their obligations and agreements thereunder
(including the repayment of any amount owing thereunder) and to consummate the transactions
contemplated thereby, and each such Authorized Officer is hereby authorized to negotiate, make,
sign, execute, acknowledge, deliver and perform any and all such other instruments and
agreements which he or she deems necessary, proper or desirable in connection therewith, pursuant
to which substantially all of the assets of the Companies will be pledged to the Agent as collateral
under the Postpetition Credit Agreement, in each case, in such forms and with such changes,
modifications or additions thereto as the executing Authorized Officer shall approve in his or her
sole discretion (such approval to be conclusively evidenced by the execution of the Postpetition
Credit Agreement and such other instruments and agreements);

                FURTHER RESOLVED, that the execution and delivery (including, in each case,
by electronic signature and/or electronic transmission) of the Stalking Horse APA and such other
transaction documents contemplated thereby, the consummation of the transactions contemplated
thereby, and the performance of such Companies’ obligations thereunder, be, and each of them
hereby is, in all respects, authorized, approved, adopted, ratified, and confirmed by the Boards in
respect of such Companies and in respect of such Companies’ capacity as the sole member, sole
stockholder, sole managing member or sole voting stockholder, as applicable any other of such
Companies;

                FURTHER RESOLVED, that each of the Authorized Officers be, and each of them
hereby is, authorized to cause the Companies party thereto, and such Companies are hereby
authorized, to enter into the Stalking Horse APA, and each such Authorized Officer is hereby
authorized to negotiate, execute and deliver the Stalking Horse APA and such other transaction
documents contemplated thereby, and the Companies are authorized to perform all of their
obligations and agreements thereunder and to consummate the transactions contemplated thereby,
and each such Authorized Officer is hereby authorized to negotiate, make, sign, execute,
acknowledge, deliver and perform any and all such other instruments and agreements which he or
she deems necessary, proper or desirable in connection therewith, in each case, in such forms and
with such changes, modifications or additions thereto as the executing Authorized Officer shall
approve in his or her sole discretion (such approval to be conclusively evidenced by the execution
of the Postpetition Credit Agreement and such other instruments and agreements);

                FURTHER RESOLVED, that each Authorized Officer is hereby authorized to take
or cause to be taken, in the name and on behalf of such Companies, all such further actions and to
prepare, execute and deliver or cause to be prepared, executed and delivered, in the name and on
behalf of such Companies, all such other agreements, documents and instruments and to incur and
pay all such fees and expenses as such Authorized Officer deems necessary or appropriate in order
to give full effect to the Transaction and related transactions contemplated by the Stalking Horse
APA and the other transaction documents contemplated thereby;
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                FURTHER RESOLVED, that each Authorized Person is hereby authorized and
directed, in the name and on behalf of such Companies, to take all such other actions deemed
necessary or appropriate in order to comply with the applicable laws of any jurisdiction, and with
any rules, regulations and other requirements of any court or governmental, regulatory or
administrative agency or instrumentality, with respect to the transactions contemplated by the
Stalking Horse APA and the other transaction documents contemplated thereby;

                FURTHER RESOLVED, that each of the Authorized Officers be, and each of them
hereby is, authorized, directed and empowered, on behalf of and in the name of the Companies, to
execute appropriate retention agreements, pay appropriate retainers prior to and promptly
following the filing of the Companies’ cases under chapter 11 of the Bankruptcy Code, and cause
to be filed an appropriate application for authority to retain the services of (i) King & Spalding,
LLP as counsel, (ii) Berger Singerman LLP as Florida co-counsel, (iii) Blake, Cassels & Graydon
LLP as local Canadian counsel, (iv) Alvarez & Marsal North America, LLC to provide a chief
executive officer, chief restructuring officer and other personnel, (v) Epiq as claims and noticing
agent, (vi) Hilco Corporate Finance, LLC as lead investment bank and (vii) Keen as real estate
advisor in connection with its cases under chapter 11 of the Bankruptcy Code and Part IV of the
CCAA, as applicable;

                FURTHER RESOLVED, that the Authorized Officers of the Companies be, and
each of them hereby is, authorized and directed on behalf of the Companies to take such actions
and to make, sign, execute, acknowledge, deliver and perform (and record in a relevant office of
the county clerk, if necessary) any and all such agreements, affidavits, orders, directions,
certificates, requests, receipts, financing statements or other instruments, as may be necessary,
desirable, or appropriate in the reasonable discretion of any such Authorized Officer to give effect
to the foregoing resolutions, and to execute and deliver such agreements (including exhibits
thereto) and related documents, and to perform fully the terms and provisions thereof;

                FURTHER RESOLVED, that the Companies be, and hereby are, authorized to pay
all fees and expenses incurred by it or for its account in connection with the actions approved in
any or all of the foregoing resolutions, and all actions related thereto, and each Authorized Officer
be, and each of them hereby is, authorized, empowered and directed to cause the Companies to
make said payments as each such Authorized Officer may deem necessary, appropriate, advisable
or desirable, such payment to constitute conclusive evidence of such Authorized Officer’s
determination and approval of the necessity, appropriateness, advisability or desirability thereof;
and

               FURTHER RESOLVED, that to the extent that any of the actions authorized by any
of the foregoing resolutions have been taken previously by any Authorized Officers or employees
of the Companies on their behalf, such actions are hereby ratified, approved and confirmed in their
entirety; and

              FURTHER RESOLVED, that this omnibus action by written consent may be
executed and delivered by electronic transmission with the same effect as delivery of an original.
                             [Remainder ofPage Intentionally Left Blank}
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IN WITNESS WHEREOF, the undersigned has executed this action by written consent effective as of the
date first written above.



                                                        wrence Hi          is capacities as Manager
                                                     of Red Lobster Management LLC, Red Lobster
                                                     Restaurants LLC, Red Lobster Hospitality LLC,
                                                     Red Lobster Sourcing LLC, Red Lobster Supply
                                                     LLC, RL Kansas LLC, RL Columbia LLC, RL
                                                     Salisbury, LLC and Red Lobster International
                                                     Holdings, LLC, and as Director of RLSV, Inc.,
                                                     Red Lobster Canada, Inc., Red Lobster of Bel
                                                     Air, Inc., RL Maryland, Inc., RL of Frederick,
                                                     Inc., Red Lobster of Texas, Inc.


                                                     RED LOBSTER RESTAURANTS LLC, RED
                                                     LOBSTER HOSPITALITY LLC, RED
                                                     LOBSTER SOURCING LLC, RED LOBSTER
                                                     SUPPLY LLC, RL KANSAS LLC, RL
                                                     COLUMBIA LLC, RL SALISBURY, LLC AND
                                                     RED LOBSTER INTERNATIONAL
                                                     HOLDINGS, LLC, RLSV, INC., RED
                                                     LOBSTER CANADA, INC., RED LOBSTER
                                                     OF BELAIR, INC., RL MARYLAND, INC.,
                                                     RL OF FREDERICK, INC., RED LOBSTER
                                                     OF TEXAS, INC., in their capacity as the sole
                                                     member, sole stockholder, sole managing
                                                     member or sole voting stockholder, as
                                                     applicable, of the applicable Companies




                                                               wrence Hij^K/
                                                       itle/ Authorized Signatory
